Case 7:04-cv-00065-R Documenté6 Filed 09/16/04 e 1 Uk

IN THE UNITED STATES DISTRICT cop RTHERN DI OURT d
S
NL FOR THE NOK7HERA)__ DISTRICT OF FEXA TRICT OF TEXAS |
Q\G c\N 477A FALL DIVISION
0 Form To Be Used By A Prisoner in Filing a Complaint SP $6 2004 |
Under the Civil Rights Act, 42 U.S.C. § 1 83 CLER |
K, U,
- By U.S. DISTRICT COURT
BageeTT MonRoE Puy

Plaintiff's name and ID Number “6 (3.5 7

ALLRED UNIT f\mended Conga a

Place of Confinement CASE No. 7 O U . C JV _ Ob 5- K

(Clerk will assign the number)

And cesSPZRED tazi Bons

Vv.
Sarnaraniicoe agen EE: VAT LAE Teac
aps Be The ZLLEGAL ALE EGED, 4d» HAKASTYE

ae ape AR address WEED EGE Sy fa” ve on Gai, BAHAC THe

wh 4

Hacioh DUCA safe

OAD DELAUAD A fat he 0 RE AA AAS.

AN / . ‘ FELZENG =
e and address ALERED Ad INE hf Aah ceo A Mh 7A Mes lyf OEE AIM LHATEN

Eaky Ls LiJEst oFfsceh ‘Logs
FILING LRIE VANCES
Defendant’s name and address 7) AEALZA7ED, HA RA a “ia, THREATE ALAND Fok FE AND --

i" i ITLED LAITHEN
COILAED LneT DIG) FI 3CIN. TOWADMKr TA 16367 COPIED IT ORACY

INSTRUCTIONS - READ CAREFULLY /

NOTICE:
Your complaint is subject to dismissal unless it conforms to these instructions and this form.

1. To start an action you must file an original and one copy of your complaint with the court. You should keep a
copy of the complaint for your own records.

2. Your complaint must be legibly handwritten, in ink, or typewritten. You, the plaintiff, must sign and declare
under penalty of perjury that the facts are correct. If you need additional space, DO NOT USE THE REVERSE
SIDE OR BACK SIDE OF ANY PAGE. ATTACH AN ADDITIONAL BLANK PAGE AND WRITE ON IT.

3. You must file a separate complaint for each claim you have unless the various claims are all related to the same
incident or issue or are all against the same defendant, Rule 18, Federal Rules of Civil Procedure. Make a short and
plain statement of your claim, Rule 8, Federal Rules of Civil Procedure.

4. When these forms are completed, mail the original and one copy to the Clerk of the United States Court for the
appropriate District of Texas in the Division where one or more named defendants are located, or where the incident
giving rise to your claim for relief occurred. The list labeled as “ VENUE LIST” is posted in your unit law library.
It is a list of the Texas prison units indicating the appropriate District Court, the Division and an address list of the
Divisional Clerks.
Case 7:04-cv-00065-R Document6 Filed 09/16/04 Page2of5 PagelD9
_FILING FEE AND IN FORMA PAUPERIS

1. In order for your complaint to be filed, it must be accompanied by the filing fee of $150.00.

2. Ifyou do not have the necessary funds to pay the filing fee in full at this time, you may request permission to
proceed in forma pauperis. In this event you must complete the application to proceed in forma pauperis (IFP),
setting forth information to establish your inability to prepay the fees and costs or give security therefor. You must
also include a current six (6) month history of your Inmate Trust Account. You can acquire the application to
proceed IFP and appropriate Inmate Account Certificate from the law library at your prison unit.

3. 28 U.S.C. 1915, as amended by the Prison Litigation Reform Act of 1995 (PLRA), provides, “...if a prisoner
brings a civil action or files an appeal in forma pauperis, the prisoner shall be required to pay the full amount ofa
filing fee.” Thus, the Court is required to assess and, when funds exist, collect, the entire filing fee or an initial partial
filing fee and monthly installments until the entire amount of the filing fee has been paid by the prisoner. If you
submit the application to proceed in forma pauperis , the Court will apply 28 U.S.C. 1915 and, if appropriate, assess
and collect the entire filing fee or an initial partial filing fee, then monthly installments from your Inmate Account,
until the entire $150 filing fee has been paid.

4. If you intend to seek in forma pauperis status, then do not send your complaint without an Application to
Proceed IFP, and the Certificate of Inmate Trust Account. Complete all the essential paperwork before submitting
it to the Court.

CHANGE OF ADDRESS

It is your responsibility to inform the Court of any change of address and its effective date. Such notice should
be marked “NOTICE TO THE COURT OF CHANGE OF ADDRESS” and shall not include any motion (s) for
any other relief. Failure to file a NOTICE TO THE COURT OF CHANGE OF ADDRESS may result in the
dismissal of your complaint pursuant to Rule 41(b), Federal Rules of Civil Procedure.

I. PREVIOUS LAWSUITS:

A. Have you filed any other lawsuits in state or federal court relating to your /
imprisonment? __YES Y& NO

B. If your answer to "A" is "yes," describe each lawsuit in the space below. (If there is more than one
lawsuit, describe the additional lawsuits on another piece of paper, giving the same information. )

1. Approximate date of filing lawsuit: N {ne

2. Parties to previous lawsuit:

Plaintiff(s) Nene

Defendant(s) —

Court: (If federal, name the district; if state, name the county.) nw b AE

aa,
Docket Number:

Name of judge to whom case was assigned: nj b N L

Aw Rw

Disposition: (Was the case dismissed, appealed, still pending?) C
wv

\ {
7. Approximate date of disposition: hor

Case 7:04-cv-00065-R Document 6 Filed 09/16/04 Page3of5 PagelD 10
I. PLACE‘OF PRESENT CONFINEMENT:__ ALL AED LUNZT, Lal ZowlA~AKE: 7X

II. EXHAUSTION OF GRIEVANCE PROCEDURES:
Have you exhausted both steps of the grievance procedure in this institution? t AXES ___NO
Attach a copy of the Step 2 grievance with the response supplied by the prison system.

IV. PARTIES TO THIS SUIT:

A. Name and address of plaintiff: (aARRE TT Monk oF _*% 3A
ALLRED UNZT 2.10) FM 367 WorRZA.

ZowA Park, ZX 16.36")

B. Full name of each defendant, his official position, his place of Ai inn EMIED 7HE £2tLH7 8 F. df.

employment, and his full mailing address. U

DAVID WW. TOU OFFICER Laws LIBAARMASSIST fF;
Defendant #1: DENZED ALLESS Jao THE CuukTs AND Law Ll zBKARG ,
AND RACIAL Digl RiMzATLON, RETALZATIN . HARASSMENT 1 THREATS oA Loe
NLONS PIRACY fs
FIN ICTN( Loh PA 74,3 Seamer ’
Briefly describe the act(s) or omission(s) of this defendant which you claimed hariftu yuu ian
Ce 4 DENIED ACCESS Zo THELLURTS ArLDLA US

ATLA i, HAPASSITIENT.
‘ ALZAT Ani JHKEATS.-

“LeBiary Ag as c
Defendant #2: Rod Lu: MONAGE AFF ircek Law LZ BRAKLANS ASSZS Ty

ALLRED Unt 7: B/Of B69 ORT, Zou PARK, ZK

Briefly describe the act(s) or gmission(s) of this defendant which you claimed harmed you, . wen
CONSPLRED Litz TATAl LONSPIBA CY ryeniZED THe RICH PREEDOMoF SPEEA

Defendant #3: TAZ ACCES LoTH= LK ZS
fal FoR Fz: RIFVANCES AnD KACZALDISCRIMIATICN » RETALTATON HARASS MAT AAD
mobrie Orbe ne as) ot SaeSPoAS) of this ME AT eh you canta ha a
4 aD PAB CombWC7 tNVES7CM Tiwi RELATING Jeo PlaruTiFé /HENTAL HEALTH RETADATIoN ConDZ7uu'
em 67H EosA PAE,
Defendant #4: 6Zrrure LouNselL 2b Fi ed

DENIED ALCES: Te Me Leukis AnDbok F7LzKl CALEVENCES Aa) KALiAL DBLRIMATIN
BanP tesh OF EKER of Saieak s) GRA BERG nih A EAE U ASM ENT AND
THREATS Ani) Fatl 700 pp Due QUATE ZNVESTzE LATaN os PLAZNTEFL,

mak
Defendant #5; f . Cé i Dz Zon
ALLRED UNTT 216 FRI ZEGN. ZOWA PARK 7X )G56° Ca
DENIED ALZEGS TES HE COURTS AND FER FITS Co RLEVARNCES AND RACIAL DZ&CKININATS:
Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you. SS

Tia? ConSPERED LSTTALN CONSPIRACL AND KETAL2AT zon, HARASSIMEKT, THREATS,

7, 7] ) > A N. iS
bazutee LUAS SuBbdecTED Too NUMEROUS FABRICATED. D2 capa fepen
TUT AMERED PLAMENTAEF CHANCES AT Sicck v4 he LILTHEN THEA BD
PAD _DENZED 7HE RZGCSIT or FRIEDEN er Speen THA p. Zz

Fa TALK inde Any CrLRCUAIS TANCES:
Case 7:04-cv-00065-R Document6 Filed 09/16/04 Page4of5 PagelD 11
V. STATEMENT OF CLAIM:
State here in a short and plain statement the facts of your case, that is, what happened, where did it happen,
when did it happen, and who was involved. Describe how each defendant is involved. You need not give any
legal arguments or cite any cases or statutes. If you intend to allege a number of related claims, number and set
forth each claim in a separate paragraph. Attach extra pages if necessary, but remember that the complaint must

be stated briefly and concisely. IF YOU VIOLATE THIS RULE, THE CO Moe S THe LU R78 5

COMPLAINT PLAZN7IFF ARE ALLOWED AN ADEDUATE ALL
OAT rae RIGAT OF ACCESS 706 THE (RZ VANCE PROCEDURE A

nic L tBRAR én Th Chi 6777 UTTal AUTOMA A ALTEGD Too cient chs
(I /i ° HzeH HAV: Ti fer ALLL
T=FF on AT Pie AND ATUL TT IFS D D HIM THATADEQGUATE A 26
THERETY LOnISpIRED LUT THEN f ONS PT RALLY Fea REJALZA? 7E HARASS AD THREATEN 0 Zuid Beets
ALTA THE FoR Theo OF THE eM Al 2 Tee BL And Z] THAT RESUIL. Lt Z hoi HS ATE
6 / f UL AT iA [D. RLV EA EL EAD HES Loa b Tin, Tis,
ile PERS A mebodead MIZTED Joa ORA OMMuUA LON: OF Op NZOMS EXPRESSED.
HEL MADE. ti, SUFFLCLE EN OR HI 1706 FuLF2Le 5 LK DECI F I. EDL I7L MP
a EREAS, £T ILA ruil. NUMBER OF Hou: KARCH J00 DEE DARE
LRLT OF HA ok is ER AALD A rE OY ED 4 Lat ENTS
HERE WiFi
LST, Ni THE: OUR Zs. Mek? pe Tey
WERE N TEAL T ZONA j K Fully Ail. WANTDA USAF
GDELTBEL ATE. Wp DE EPERE, Ie rele qZNIE LF. IEOMPENT CL Lf SUAS;
te A 4 Fil,
19 A ON EACH 14 ZCATI Drst 4 ; ie DERN Dial LAD

a z

J pera A
VI. Ei S r niet ox € Hs

ME of TAME TS % le al ar ents. Cite o cases
. “neuteei( be A liar fate lish (aL Fb UR op gop LUE SH AMD ZOR

AnslD INSU FRIETENT | SUFFERING
HIGH Blo PRESSURE AD SOME SEVERE CA
EACH DEFENDANT 2.5 HaLD LZABLE IN THEZK LAD VZDUAL PERONTL DFLLCIAL

ST DAINS,
VIL GENERAL BACKGROUND INFORMATION, 7 APACS ZY, PLAZNTD) FE ASK THE NonaeAile

HR GELORDS AND MEME.
PLAZn7gre, ey ‘ = CHAT Me form, all | name ou have ope used or Ts now b ie inclu KT, FORA
0,

RECORDS SE, SUBDOE K. ~ LAINIE 7 THE ORZEInAL 54m ZI
“and RActAL Dr QR Gn Ge TIa 4ifl/,

B. List all TDCJ-ID identification numbers you have ever been assigned and all other state or fe
or FBI numbers ever assigned to you, if known to you. CAO AN) E) ————

VII. SANCTIONS:
A. Have you been sanctioned by any court as a result of any lawsuit you have filed? YES Ko
B. If your answer is "yes", » Biya the following information for every lawsuit in which

sanctions were imposed. (If more than one, use another piece of paper and answer
the same questions.)

1. Court that imposed sanctions (if federal, give the district and division):

nc

. Case Number:

2
3. Approximate date sanctions were imposed: Kn
4. Have the sanctions been lifted or otherwise satisfied? YES NO

aoa &
Case 7:04-cv-00065-R Document6 Filed 09/16/04 Page5of5 PagelD 12 /
.. Has any court ever warned or notified you that sanctions could be imposed? YES NO

D, if your answer is "yes", give the following information for every lawsuit in which
warning was imposed. (If more than one, use another piece of paper and answer
the same questions.)

1. Court that imposed warning (if federal, give the district and division): N 0 Ne
17

2. Case Number: Noe

3. Approximate date warnings were imposed: —
et

Executed on: o—™ note
DATE _—_———_—___—___.
. enema ean

(Signature of plaintiff)

PLAINTIFF’S DECLARATIONS

1. I declare under penalty of perjury all facts presented in this complaint and attachments thereto are true

and correct.

2. Iunderstand if I am released or transferred, it is my responsibility to keep the Court informed of my current
mailing address and failure to do so may result in the dismissal of this lawsuit.

. IL understand that I must exhaust all available administrative remedies prior to filing this lawsuit.

. L understand I am prohibited from bringing an in forma pauperis lawsuit if 1 have brought three or more civil
actions in a Court of the United States while incarcerated or detained in any facility, which lawsuits were
dismissed on the ground they were frivolous, malicious, or failed to state a claim upon which relief may be
granted, unless I am under imminent danger of serious physical injury.

5. L understand even if I am allowed to proceed without prepayment of costs, I am responsible for the entire

$150 filing fee and costs assessed by the Court, which shall be deducted in accordance with the law from
my inmate account by my custodian until the filing fee is paid.

Signed this ALL LOK. day of __ DEP TEMILBER 2065 f.

ADay) (month) (year)

Hote Ziiinsak SPOY

7

EX
CARREZZ [2D OMREE

(Signature of plaintiff)

pW

WARNING: The Plaintiff is hereby advised any false or deliberately misleading information provided in
response to the following questions will result in the imposition of sanctions. The sanctions the Court may
impose include, but are not limited to monetary sanctions and/or the dismissal of this action with prejudice.
